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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

THE MCDONNEL GROUP, LLC                               CASE NO. 2:18-cv-01380-JTM-JCW

VERSUS                                                SECTION: H

STARR SURPLUS LINES INSURANCE                         DIVISION: 2
COMPANY
                                                      JUDGE: JANE TRICHE MILAZZO

                                                      MAGISTRATE JUDGE: JOSEPH C.
                                                      WILKINSON


                             COMPLAINT OF INTERVENTION

       NOW INTO COURT, through undersigned counsel and pursuant to Federal Rules of Civil

Procedure (“FRCP”) 24, comes The Jung, L.L.C. (“Jung” or “Intervenor”) and for its Complaint

of Intervention avers as follows:

                                            PARTIES

                                                 1.

       Intervenor is a limited liability company organized under the laws of Louisiana and is

domiciled in Metairie, Louisiana. Jung is the owner of the Jung Hotel and Residences (“Jung

Hotel”) located in New Orleans, Louisiana. The members of Jung are Generation Holdings, LLC,

The Jung Master Tenant, LLC, and Jung 1500, LLC. Generation Holdings, LLC is comprised of

five trusts: (1) The Joseph A. Jaeger Jr. Intentionally Defective Grantor Trust #1; (2) The Joseph

A. Jaeger Jr. Intentionally Defective Grantor Trust #2; (3) The Joseph A. Jaeger Jr. Amicus

Intentionally Defective Grantor Trust; (4) The Rebecca E. Jones Intentionally Defective Grantor

Trust; and (5) The Joseph A. Jaeger Jr. Irrevocable Inter Vivos Family Alaska Dynasty Trust. The

citizenship of a traditional, non-business trust, which all five of the aforementioned trusts are, is
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determined by the citizenship of its trustee.1 D. Randolph Waesche is the trustee for the first four

trusts, and Craig Guidry is the trustee for the fifth trust. Both Waesche and Guidry are Louisiana

domiciliaries; thus, Generation Holdings, LLC is a Louisiana domiciliary. The members of The

Jung Master Tenant, LLC are The Jung Master Tenant Manager, LLC, The Jung Investor, LLC,

and Generation Holdings, LLC. The Jung Master Tenant Manager, LLC’s only member is Joseph

A. Jaeger, Jr., a Louisiana domiciliary. Accordingly, it is a Louisiana citizen. The Jung Investor,

LLC consists of seven members: (1) Generation Holdings, LLC, which, as discussed above, is a

Louisiana citizen; (2) WM Interest, LLC; (3) EWE, LLC; (4) Peter Trapolin, a Louisiana

domiciliary; (5) Steve Dwyer, a Louisiana domiciliary; (6) Susanne Cambre, a Louisiana

domiciliary; and (7) Frank Cason, a South Carolina domiciliary. WM Interest, LLC’s members are

Whitney LaNasa and Matt LaNasa, both of which are Louisiana domiciliaries, making WM

Interest, LLC a Louisiana citizen. EWE, LLC consists of 8 members: James E. Maurin, a Louisiana

domiciliary; Lillian Crosby Maurin, a Louisiana Citizen; and 6 Louisiana trusts. Each trust’s co-

trustees are James E. Maurin’s three daughter—Carla M. Corley, Caroline M. Gallinaro, and

Margaret M. Quesinberry. All three daughters are Georgia residents, making EWE, LLC a

Louisiana and Georgia citizen. Therefore, The Jung Investor is a Louisiana, South Carolina, and

Georgia citizen. Lastly, as previously mentioned, Generation Holdings, LLC is also a Louisiana

resident. Thus, The Jung Master Tenant, LLC is a Louisiana, South Carolina, and Georgia citizen.

Finally, Jung 1500, LLC’s sole member is Stonehenge Capital Company LLC, whose only

member is Stonehenge Capital Corporation, an Ohio corporation with its principal place of

business in Ohio. Thus, Jung 1500, LLC is an Ohio citizen. For purposes of a diversity of

citizenship analysis, Jung is a citizen of Louisiana, South Carolina, Georgia, and Ohio.


1
 See Americold Realty Trust v. Conagra Foods, Inc., 136 S.Ct. 1012 (2016); Algiers Dev. Dist. v. Vista Louisiana,
LLC, 2017 WL 121127, at *3 (E.D. La. 2017).

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                                                  2.

       As pleaded in The McDonnel Group, LLC’s (“McDonnel”) Second Amended and Restated

Complaint for Damages: (1) Plaintiff in the instant action is a limited liability company organized

under the laws of Louisiana with its principal place of business in Jefferson Parish; (2) the members

of McDonnel are BAM Ventures, L.L.C., TVM Ventures, L.L.C., and DMM Holdings, L.L.C; (3)

the sole member of BAM Ventures, L.L.C. is Allan McDonnel, who resides and is domiciled in

Louisiana; (4) the sole member of TVM Ventures, L.L.C. is Tony Montalbano, who resides and is

domiciled in Louisiana; and (5) the sole member of DMM Holdings, L.L.C. is David McDonnel,

who resides and is domiciled in Louisiana. Thus, McDonnel is a citizen of Louisiana.

                                                  3.

       Starr Surplus Lines Insurance Company (“Starr”), defendant in the instant action, is a

foreign insurance company organized under the laws of Illinois with its principal place of business

in the State of New York. Starr is engaged in the business of insurance and, upon information and

belief, transacts substantial insurance business in Louisiana. Thus, Starr is a citizen of Illinois and

New York.

                                                  4.

       Lexington Insurance Company (“Lexington”), defendant in the instant action, is a foreign

insurance company organized under the laws of Delaware with its principle place of business in

the State of Massachusetts. Lexington is engaged in the business of insurance and, upon

information and belief, transacts substantial insurance business in Louisiana. Thus, Lexington is a

citizen Delaware and Massachusetts.




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                                        JURISDICTION

                                                 5.

       This Court has jurisdiction pursuant to 28 U.S.C. § 1332, which requires complete diversity

of citizenship and an amount in controversy exceeding $75,000. No dispute exists that the amount

in controversy exceeds $75,000, as Jung’s claim exceeded $12 million. Additionally, complete

diversity exists because all the members of the members of McDonnel are Louisiana citizens,

making McDonnel a Louisiana citizen for diversity jurisdiction purposes. Pursuant to the above

analysis, Jung is a citizen of Louisiana, South Carolina, and Ohio. Finally, defendants are citizens

of Illinois, New York, Delaware, and Massachusetts. Thus, complete diversity exists, and this court

has subject matter jurisdiction.

                                             FACTS

                                                 6.

       Jung seeks to intervene as a plaintiff in this civil action for declaratory relief and money

damages arising out of Starr and Lexington’s (collectively, “Insurers”) breach of their contractual

obligations to provide insurance coverage and/or payment for all such losses suffered by

McDonnel and other insureds under the Policy, including Jung (collectively, “Insureds”).

                                                 7.

       Jung and McDonnel entered into an agreement (“McDonnel Agreement”) for the

redevelopment and renovation of the Jung Hotel (the “Project”) on or about December 23, 2014,

which was subsequently modified by several change orders.

                                                 8.

       The McDonnel Agreement required McDonnel to purchase and maintain a builder’s risk

policy and name Jung as an additional insured.


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                                                         9.

           Consequently, McDonnel obtained a Builder’s Risk Policy from Starr, policy number

SLSTCON 11024415. McDonnel is the named insured, and the policy period is from February 23,

2015 to February 23, 2017. McDonnel also obtained a Builder’s Risk Policy from Lexington,

policy number 207-86-707. McDonnel is the named insured, and the policy period is from

February 23, 2015 to February 23, 2017 (collectively, the “Policies”). Each policy covers 50% of

the Project and thus collectively totals 100% of the Project.

                                                        10.

           McDonnel is the primary “named insured” on the policies of insurance issued by

defendants Starr and Lexington. The Policies provide that “all owners . . . of the INSURED

PROJECT* . . . are recognized as Additional Insured’s hereunder.”2 Thus, Jung is an additional

insured under the Policies.

                                                        11.

           Effective February 16, 2017, in consideration of additional premium, the expiration date

for the Policies was extended so that the policy was in effect at all pertinent times during the

Project.

                                                        12.

           As set forth in McDonnel’s Second Amended and Restated Complaint for Damages, the

Project experienced substantial damages and delays due to multiple incidents that fell within the

coverage of the Policies. As a result, Jung submitted a claim for the following categories of

damages due to project delays:

      a. Completion penalties pertaining to capital loan contributions;



2
    Manuscript Completed Value Construction All Risks Policy, at 1.

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   b. Damages for delay in completion of the Apartment renovations;

   c. Damages for delay in completion of the Hotel renovations;

   d. Damages for the inability to host events while the Project was delayed;

   e. Damages relating to hotel operations;

   f. Damages relating to expenses and loses associated with project financing;

   g. Damages relating to ownership labor and overhead overages; and

   h. Attorney fees.

                                                13.

       Jung’s damages relating to the above categories of damages, when the claim was made,

totaled $12,292,486.

                                                14.

       By letter on February 8, 2018, Jung, through its representative, notified McDonnel that

“[u]nder that policy, McDonnel is the sole agent for the additional insureds, including the owner.”

Consequently, Jung requested that “McDonnel . . . pursue this claim with the insurers and promptly

report all developments to the owner.”

                                                15.

       On March 14, 2018 McDonnel forwarded the aforementioned claim to the Insurer, which

claim constituted satisfactory proof of loss.

                                                16.

       The Adjuster acknowledged the claim but has not timely adjusted nor substantively

responded to the claim.




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                                                  17.

        The claim is covered by the Policies, and each claim was timely submitted by McDonnel

to Starr and Lexington.

                                                  18.

        Upon information and belief, despite the Insureds fulfilling all conditions and contractual

obligations under the Policies and the Insurers acknowledging receipt of the claim, both Starr and

Lexington have failed to honor their obligations under the Policies and have paid nothing with

respect to Jung’s claim. McDonnel followed up regarding the status of the claim repeatedly

subsequent to relaying Jung’s claim to the Insurers in March 2018. Payment still has not been

made to Jung. On October 11, 2018, Jung notified the parties of its intent to intervene in the instant

suit. On October 19, 2018, only after Jung notified Insurers of its intent to intervene in the instant

suit, the Insurers sent a letter to Jung, acknowledging that they had received Jung’s claim, stating

that they would conduct an investigation of Jung’s claim, and reserving rights to deny coverage.

This letter was sent over seven months after Jung’s claim was initially forwarded to Insurers.

                                                  19.

        FRCP 24 provides, “On timely motion, the court must permit anyone to intervene who: . .

. (2) claims an interest relating to the property or transaction that is the subject of the action, and

is so situated that disposing of the action may as a practical matter impair or impede the movant’s

ability to protect its interest, unless exiting parties adequately represent that interest.” Pursuant to

FRCP 24, as an insured under the Policies, Jung seeks to intervene herein to assert its right to

recover its damages as an additional insured under the Policies issued by Starr and Lexington and

statutory penalties.




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                                                20.

       The Insurers have failed to timely adjust Jung’s claim and have failed to compensate Jung

at all for its covered losses; thus, Starr and Lexington are in breach of the insurance policies

obtained by McDonnel as required by the McDonnel agreement and have violated Louisiana

Revised Statutes §§ 22:1892 and 22:1973.

                                                21.

       This total failure to compensate the Insureds within the time specified under Louisiana law

is in violation of Louisiana Revised Statutes §§ 22:1892 and 22:1973 and has also been arbitrary,

capricious, and without probable cause. Accordingly, Starr and Lexington are liable for additional

damages, consequential and/or special damages, penalties, costs, and attorneys’ fees under

Louisiana Revised Statutes §§ 22:1892 and 22:1973.

                                                22.

       Additionally, upon information and belief, McDonnel delivered Jung’s claim to the

Insurers on March 14, 2018. This delivery constituted satisfactory proof of loss under §§ 22:1892

and 22:1973. Despite acknowledging receipt of the claim, the Insurers have failed to timely

respond to the claim and perform as is required pursuant to the Policies. The failure to pay the

aforementioned claim within 60 days has been arbitrary, capricious, and without probable cause,

and constitutes a breach of the duties of good faith and fair dealing under Louisiana Revised

Statutes § 22:1973. Similarly, the failure to pay the claim within 30 days constitutes a violation of

Louisiana Revised Statutes § 22:1892.




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                                                23.

       Accordingly, Intervenor should be permitted to intervene herein to protect its rights and its

ability to recover under the Policies issued by Starr and Lexington.

       WHEREFORE, Jung respectfully prays that this Complaint of Intervention be served on

all parties and that, after all due proceedings are had, there be judgment rendered in Jung’s favor

and against Defendants, awarding Jung the following damages:

   1. all amounts due under the policy;

   2. damages as a result of the Insurers’ failure to pay;

   3. statutory damages pursuant to Louisiana Revised Statutes §§ 22:1892 and 22:1973; and

   4. all other general and equitable relief which the nature of this case requires.


                                                      Respectfully submitted,




                                                      _/s/ James M. Garner______________
                                                      James M. Garner (#19589) T.A.
                                                      Peter L. Hilbert, Jr. (#6875)
                                                      Darnell Bludworth (#18801)
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                                                      COUNSEL FOR THE JUNG, L.L.C.




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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the above and foregoing has been served upon all

counsel of record by depositing same in the U.S. mail, properly addressed and postage prepaid,

and/or by electronic mail, this 23rd day of October, 2018.




                                                             _/s/ James M. Garner____________
                                                             JAMES M. GARNER




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